          Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 1 of 32




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                 CENTRAL DIVISION

__________________________________________
                                                  *
NATIONAL ASSOCIATION OF TOBACCO                   *
OUTLETS, INC.; R.J. REYNOLDS TOBACCO *
COMPANY; PHILIP MORRIS USA INC.;                  *
LORILLARD TOBACCO COMPANY,                        *
                                                  *
                     Plaintiffs,                  *   Civil Action No.
                                                  *   4:11−CV−40110−DPW
       v.                                         *
                                                  *
CITY OF WORCESTER, Massachusetts;                 *
DIVISION OF PUBLIC HEALTH of Worcester, *
Massachusetts; B. DALE MAGEE, in his official *
capacity as Commissioner of Public Health of      *
Worcester, Massachusetts; MICHAEL V.              *
O’BRIEN, in his official capacity as City Manager *
of Worcester, Massachusetts,                      *
                                                  *
                     Defendants.                  *
__________________________________________*


REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
 INJUNCTION AND MOTION FOR SUMMARY JUDGMENT, AND IN OPPOSITION TO
             DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
            Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 2 of 32


                                                   TABLE OF CONTENTS

                                                                                                                                        Page


TABLE OF AUTHORITIES ......................................................................................................... ii
INTRODUCTION ......................................................................................................................... 1
I.        THE ORDINANCE VIOLATES BINDING SUPREME COURT PRECEDENT........... 3
          A.         The Ordinance Is Unconstitutional Under Lorillard. ............................................ 3
          B.         Worcester’s Attempt To Distinguish Lorillard Fails At Every Level. .................. 6
II.       THE ORDINANCE ALSO FAILS THE THIRD AND FOURTH PRONGS OF
          CENTRAL HUDSON. ........................................................................................................ 9
          A.         Worcester Has Not Demonstrated That The Ordinance Will Cause A
                     “Material” Or “Significant” Reduction In Adult Tobacco Use. ............................ 9
          B.         Worcester Has Not Demonstrated That The Ordinance Is Narrowly
                     Tailored. ............................................................................................................... 13
                     1.         Worcester Did Not “Carefully Calculate” The Burdens And
                                Benefits Of The Speech Ban. ................................................................... 14
                     2.         Worcester Has Not Demonstrated That Obvious Less Restrictive
                                Alternatives Would Be Less Effective Than The Ordinance................... 17
III.      PLAINTIFFS’ EXPERT DECLARATIONS FURTHER DEMONSTRATE WHY
          PLAINTIFFS ARE ENTITLED TO A PRELIMINARY INJUNCTION AND
          SUMMARY JUDGMENT AND WHY WORCESTER IS NOT. .................................. 19
CONCLUSION ............................................................................................................................ 20
CERTIFICATE OF SERVICE
APPENDIX A




                                                                      -i-
            Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 3 of 32


                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)


CASES

44 Liquormart, Inc. v. Rhode Island,
   517 U.S. 484 (1996) ......................................................................................................... passim

Artichoke Joe’s Cal. Grand Casino v. Norton,
    353 F.3d 712 (9th Cir. 2003) ...................................................................................................12

Bellsouth Telecomms., Inc. v. Farris,
    542 F.3d 499 (6th Cir. 2008) ...................................................................................................18

Capital Broadcasting Co. v. Mitchell,
   333 F. Supp. 582 (D.D.C. 1971),
   affirmed sub. nom. Capital Broadcasting Co. v. Kleindienst, 405 U.S. 1000 (1972) .............12

Castillo v. United States,
   530 U.S. 120 (2000) ...................................................................................................................4

Central Hudson Gas & Elec. Corp. v. Public Serv. Comm’n of N.Y.,
   447 U.S. 557 (1980) .................................................................................................9, 10, 12, 17

City of Cincinnati v. Discovery Network, Inc.,
    507 U.S. 410 (1993) ...........................................................................................................15, 17

Clifton v. FEC,
    114 F.3d 1309 (1st Cir. 1997) ..................................................................................................13

Columbia Broad. Sys., Inc. v. Democratic Nat’l Comm.,
   412 U.S. 94 (1973) ...................................................................................................................12

Consol. Edison Co. v. Pub. Serv. Comm’n,
   447 U.S. 530 (1980) ...........................................................................................................13, 15

Denver Area Educ. Telecomms. Consortium, Inc. v. FCC,
   518 U.S. 727 (1996) .................................................................................................................13

Edenfield v. Lane,
   507 U.S. 761 (1993) ...................................................................................................2, 9, 10, 13

FCC v. Fox Television Stations, Inc.,
  129 S. Ct. 1800 (2009) .............................................................................................................12

FDA v. Brown & Williamson Tobacco Corp.,
  529 U.S. 120 (2000) ...................................................................................................................5


                                                                   -ii-
            Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 4 of 32


                                               TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                                              Page(s)


Fox Television Stations, Inc.v. FCC,
   613 F.3d 317 (2d Cir. 2010), cert. granted, 131 S. Ct. 3065 (2011) .......................................12

Greater New Orleans Broad. Ass’n v. United States,
   527 U.S. 173 (1999) ...................................................................................................................9

John Donnelly & Sons v. Campbell,
   639 F.2d 6 (1st Cir. 1980) ........................................................................................................10

Linmark Assocs. v. Twp. of Willingboro,
   431 U.S. 85 (1977) ...................................................................................................................15

Lorillard Tobacco Co. v. Reilly,
   533 U.S. 525 (2001) ......................................................................................................... passim

National Tobacco Co., LP v. City of Worcester,
   No. 11-CV-40119 (D. Mass Sept. 30, 2011) .............................................................................1

Pearson v. Shalala,
   164 F.3d 650 (D.C. Cir. 1999) .................................................................................................12

Pitt News v. Pappert,
    379 F.3d 96 (3d Cir. 2004).......................................................................................................18

Posadas de Puerto Rico Associates v. Tourism Co. of Puerto Rico,
   478 U.S. 328 (1986) ...........................................................................................................11, 12

Red Lion Broadcasting Co. v. FCC,
   395 U.S. 367 (1969) ...........................................................................................................12, 13

Reno v. Am. Civil Liberties Union,
   521 U.S. 844 (1997) .................................................................................................................13

Rodriguez de Quijas v. Shearson/Am. Express, Inc.,
   490 U.S. 477 (1989) ...................................................................................................................4

Rubin v. Coors Brewing Co.,
   514 U.S. 476 (1995) .................................................................................................................18

Sorrell v. IMS Health Inc.,
   131 S. Ct. 2653 (2011) ..................................................................................................... passim

Telecomm. Research & Action Ctr. v. FCC,
   801 F.2d 501 (D.C. Cir. 1986) .................................................................................................12



                                                                  -iii-
            Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 5 of 32


                                                 TABLE OF AUTHORITIES
                                                       (continued)
                                                                                                                                  Page(s)


Thompson v. W. States Med. Ctr.,
   535 U.S. 357 (2002) .......................................................................................................7, 10, 17

Thurston Motor Lines, Inc. v. Jordan K. Rand, Ltd.,
   460 U.S. 533 (1983) (per curiam) ..............................................................................................4

Turner Broad. Sys., Inc. v. FCC,
   512 U.S. 622 (1994) .................................................................................................................13

U.S. West, Inc. v. FCC,
   182 F.3d 1224 (10th Cir. 1999) ...............................................................................................10

United States v. O’Brien,
   130 S. Ct. 2169 (2010) ...............................................................................................................4

United States v. O’Brien,
   542 F.3d 921 (1st Cir. 2008) ..................................................................................................4, 6

United States v. Sampson,
   486 F.3d 13 (1st Cir. 2007) ........................................................................................................4

United States v. Stevens,
   130 S. Ct. 1577 (2010) .............................................................................................................15

Virginia Board of Pharmacy v. Virginia Citizens Consumer Council, Inc.,
   425 U.S. 748 (1976) ...............................................................................................................7, 8

Wine & Spirits Retailers, Inc. v. Rhode Island,
   481 F.3d 1 (1st Cir. 2007) ........................................................................................................10

Yes for Life PAC v. Webster,
   84 F. Supp. 2d 150 (D. Me. 2000) ...........................................................................................13

Zauderer v. Office of Disciplinary Counsel,
   471 U.S. 626 (1985) .................................................................................................................17

STATUTES

52 Stat. 1040, as amended, 21 U.S.C. § 301 et seq..........................................................................5

15 U.S.C. § 1334 ..............................................................................................................................6

21 U.S.C. § 387a-1...........................................................................................................................5

940 Mass. Code Regs. § 21.04 (2000) .............................................................................................3


                                                                     -iv-
            Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 6 of 32


                                              TABLE OF AUTHORITIES
                                                    (continued)
                                                                                                                            Page(s)


Worcester, Mass., Ordinance Further Regulating the Sale and Advertising of Tobacco
  Products (May 10, 2011).................................................................................................. passim

OTHER AUTHORITIES

61 Fed. Reg. 44,396 (Aug. 28, 1996).........................................................................................5, 10

75 Fed. Reg. 13,241 (Mar. 19, 2010) ...........................................................................................5, 6

Center for Tobacco-Free Kids, A Broken Promise to Our Children: The 1998 State
   Tobacco Settlement Twelve Years Later (Nov. 17, 2010) at 43-44 .........................................20

http://www.lorillard.com/about-us/legislation/summary-of-maiser-settlement-
    agreement/#more-30. ...............................................................................................................16




                                                                  -v-
             Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 7 of 32


                                                INTRODUCTION

        This case is squarely controlled by Lorillard Tobacco Co. v. Reilly, 533 U.S. 525 (2001),

which entitles the Plaintiffs to a preliminary injunction and summary judgment as a matter of law. In

Lorillard, the Supreme Court invalidated a Massachusetts outdoor advertising ban that was narrower

than the Ordinance. Worcester seeks to avoid this binding constitutional holding by arguing about an

intervening change in statutory law. According to Worcester, a change to the preemption provision in

the Federal Cigarette Labeling and Advertising Act (“Labeling Act”) made by the Family Smoking

Prevention and Tobacco Control Act (“FSPTCA”) “effectively reversed the Lorillard Tobacco

decision,” 1 because prior to the enactment of the FSPTCA, the Labeling Act barred Massachusetts

from advancing an interest in reducing adult tobacco use. This is wrong and irrelevant: The First

Amendment, not the Labeling Act, barred Massachusetts from advancing an interest in reducing adult

tobacco use in Lorillard. Nothing has altered that holding in the intervening decade since Lorillard

was decided. Thus, Lorillard remains good law, and squarely controls this case.

        Moreover, Lorillard and numerous other binding Supreme Court cases separately foreclose

Worcester’s argument that it may prohibit truthful, non-misleading speech about a lawful product out

of fear that that speech will cause adult consumers to purchase it. As the Court held in Lorillard, “so

long as the sale and use of tobacco is lawful for adults, the tobacco industry has a protected interest in

communicating information about its products and adult customers have an interest in receiving that

information.” 533 U.S. at 571. Or as the Court more recently held in Sorrell v. IMS Health Inc., 131

S. Ct. 2653 (2011): “[T]he State may not seek to remove a popular but disfavored product from the

marketplace by prohibiting truthful, non-misleading advertisements that contain impressive

endorsements or catchy jingles. That the State finds expression too persuasive does not permit it to

quiet the speech or burden its messengers.” Id. at 2671.

        1
          Defs.’ Opp. to Pls.’ Mot. for Prelim. Inj. in National Tobacco Co., LP v. City of Worcester, No. 11-CV-40119
(D. Mass.), Docket #13 (Sept. 30, 2011) [hereinafter Cigar Wrapper Opp.] at 24.
             Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 8 of 32


         In any event, Worcester has not even remotely carried its burden of proving both (1) that the

Ordinance “will in fact” reduce adult tobacco use “to a material degree,” Edenfield v. Lane, 507 U.S.

761, 771 (1993), and (2) that the Ordinance is narrowly tailored to achieve that goal, in that

Worcester’s City Council “carefully calculate[d] the costs and benefits associated with the burden on

speech imposed” by the Ordinance, Lorillard, 533 U.S. at 561 (internal quotation marks omitted).

“[T]hese standards ensure not only that the State’s interests are proportional to the resulting burdens

placed on speech but also that the law does not seek to suppress a disfavored message.” Sorrell, 131

S. Ct. at 2668. Here, even assuming the First Amendment permitted Worcester to ban speech to

adults—and it does not—the City has put forward no evidence that the advertising ban will cause any

material reduction in adult tobacco use. Nor has it demonstrated that the ban is narrowly tailored to

that interest. Instead, the Ordinance relies on findings limited to youth tobacco use—an interest that

even Worcester concedes cannot justify the Ordinance under Lorillard. The Ordinance thus reflects

nothing more than Worcester’s attempt “to suppress a disfavored message.” Id.

         Finally, even apart from the purely legal bases for invalidating the Ordinance discussed above,

Plaintiffs’ expert declarations further demonstrate how the Ordinance will not reduce tobacco use and,

in addition, how Worcester ignored numerous, obvious non-speech restrictive or less-speech

restrictive alternatives that would better advance its goal. In the unlikely event that the Court needs to

consider such evidence, these declarations further show why the Ordinance is irreconcilable with the

First Amendment. At a minimum, they foreclose summary judgment for Worcester.

         Accordingly, for the reasons explained in Plaintiffs’ opening memorandum and further

explained herein, this Court should grant Plaintiffs’ Motion for Preliminary Injunction and their

Motion for Summary Judgment, and should deny Defendants’ Motion for Summary Judgment. 2



         2
           At a scheduling conference on August 11, 2011, the Court requested that the parties confer about providing a
vehicle to resolve this action on a dispositive motion, if possible. Accordingly, pursuant to the parties’ agreement, see
(Joint Mot. for Order to set Briefing, Decl., & Hr’g Sched., Docket #27), Plaintiffs have now moved for summary

                                                         -2-
              Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 9 of 32


I.       THE ORDINANCE VIOLATES BINDING SUPREME COURT PRECEDENT.

         This case is squarely controlled by Lorillard, which invalidated a Massachusetts regulation

that is materially indistinguishable from the Ordinance. Worcester’s sole argument is that Lorillard is

no longer good law, because prior to the enactment of the FSPTCA, Massachusetts was barred by

federal statutory law from advancing an additional interest in reducing adult tobacco use. This is

clearly wrong. The FSPTCA did not even arguably overrule Lorillard’s First Amendment holding. In

any event, the City’s additional interest in reducing adult tobacco use is also foreclosed by a long line

of Supreme Court precedent that squarely prohibits paternalistic laws that “‘seek to keep people in the

dark for what the government perceives to be their own good.’” Sorrell, 131 S. Ct. at 2671 (quoting

44 Liquormart, Inc. v. Rhode Island, 517 U.S. 484, 503 (1996) (plurality op.)).

         A.       The Ordinance Is Unconstitutional Under Lorillard.

         In Lorillard, the Supreme Court invalidated a Massachusetts regulation that prohibited outdoor

advertising within 1,000 feet of a school or playground. In particular, it banned:

         Outdoor advertising, including . . . advertising from within a retail establishment that is . . .
         visible from the outside of the establishment, in any location that is within a 1,000 foot radius
         of any public playground, playground area in a public park, elementary school or secondary
         school.

Lorillard, 533 U.S. at 534-35 (quoting 940 Mass. Code Regs. § 21.04(5)(a) (2000)). The Ordinance at

issue here prohibits far more advertising, including:

         any advertising that promotes or encourages the sale or use of cigarettes, blunt wraps or other
         tobacco products in any location where any such advertising can be viewed from any street or
         park shown on the Official Map of the city or from any property containing a public or private
         school or property containing an educational institution.

Ordinance § 5. As the foregoing makes clear, whereas the Massachusetts regulation in Lorillard

banned outdoor tobacco advertising within 1,000 feet of a school or playground, the Worcester

Ordinance bans outdoor tobacco advertising anywhere in the City of Worcester, including advertising

judgment, in addition to moving for a preliminary injunction, should the Court choose to rule on a dispositive motion at
this stage.


                                                        -3-
           Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 10 of 32


that is merely visible from a school or playground. Thus, the Worcester Ordinance is

indistinguishable from the Massachusetts regulation in all respects but one: It is even more restrictive

of speech than the regulation that Lorillard held was incompatible with the First Amendment.

Worcester does not and could not contest this fact in its brief.

       Lorillard is the beginning and the end of this case. Lower courts are obliged to adhere to “the

clear import” of the Supreme Court’s decisions. Thurston Motor Lines, Inc. v. Jordan K. Rand, Ltd.,

460 U.S. 533, 534 (1983) (per curiam). Thus, once the Supreme Court has decided an issue, lower

courts must “follow the case” and “leav[e] to [the Supreme] Court the prerogative of overruling its

own decisions,” United States v. Sampson, 486 F.3d 13, 20 (1st Cir. 2007) (quoting Rodriguez de

Quijas v. Shearson/Am. Express, Inc., 490 U.S. 477, 484 (1989)) (alterations in original). For

example, in United States v. O’Brien, 542 F.3d 921, 926 (1st Cir. 2008), the First Circuit refused to

distinguish a prior Supreme Court decision on the basis of minor differences in the statutes being

analyzed, because “most of the reasoning offered” in the previous Supreme Court decision applied

“with almost equal force” to the case before the court. Id. As the First Circuit held, it is the

“prerogative” of the Supreme Court, and not lower courts, to “reconsider[] or narrowly distinguish[]”

the Court’s prior holdings. Id. O’Brien’s subsequent appellate history, moreover, illustrates the

wisdom of its approach, since the Supreme Court affirmed the First Circuit’s holding based on the

reasoning in its prior decision, notwithstanding the differences identified in the Court of Appeals. See

United States v. O’Brien, 130 S. Ct. 2169, 2175-80 (2010) (discussing Castillo v. United States, 530

U.S. 120 (2000)).

       Here, the regulation at issue in Lorillard is indistinguishable from the Ordinance in any

material respect. Indeed, both Congress in enacting the FSPTCA, and the Food and Drug

Administration (“FDA”) in implementing it, expressly acknowledged that restrictions like Worcester’s

are unconstitutional, concluding that Lorillard forecloses an outdoor advertising ban that—like the



                                                 -4-
            Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 11 of 32


Ordinance—is as broad or broader than the one invalidated in Lorillard. In particular, the FSPTCA

directs the FDA to reissue a series of 1996 regulations on tobacco marketing that the Supreme Court

had previously invalidated as exceeding the FDA’s regulatory authority. 3 However, Congress

expressly directed the FDA not to re-issue verbatim the 1996 regulation that banned tobacco

advertising within 1,000 feet of a school or playground, since that regulation was indistinguishable

from the one invalidated in Lorillard. Instead, Congress ordered the FDA to modify the 1,000-foot

rule “in light of governing First Amendment case law, including the decision of the Supreme Court of

the United States in Lorillard Tobacco Co. v. Reilly.” 21 U.S.C. § 387a-1(a)(2)(E). The FDA, in turn,

made clear that “any proposed restrictions would be more narrowly tailored” than the earlier 1,000-

foot rule, “[a]s required by Lorillard and the governing First Amendment case law.” 75 Fed. Reg.

13,241, 13,242 (Mar. 19, 2010) (emphases added). The FDA has since announced that it is

considering regulations that are narrower than the regulation struck down in Lorillard and narrower

than the Ordinance. 4


        3
           In 1996, the FDA asserted regulatory authority over tobacco products and thereafter promulgated a series of
tobacco marketing restrictions, including a ban on outdoor advertising within 1,000 feet of a school or playground.
Regulations Restricting the Sale and Distribution of Cigarettes and Smokeless Tobacco to Protect Children and
Adolescents, 61 Fed. Reg. 44,396, 44,399 (Aug. 28, 1996). In FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120
(2000), the Supreme Court invalidated the 1996 regulations because the FDA did not have statutory authority to regulate
tobacco products. Id. at 159-60. In 2009, Congress enacted the FSPTCA, which expressly provided the FDA with such
regulatory authority and directed it to re-promulgate most of the 1996 regulations. See 52 Stat. 1040, as amended, 21
U.S.C. § 301 et seq.
        4
           In its advance notice of proposed rulemaking, the FDA considered several alternatives that were narrower than
the regulation struck down in Lorillard:

        The agency is considering several options, including a regulation proposing to (1) Prohibit or otherwise
        limit billboards located within 1,000 feet of any elementary or secondary school (k-12) and (2) prohibit
        or otherwise limit large signs or collections of advertisements greater than 14 square feet at retail
        establishments located in close proximity to any elementary or secondary school (e.g., within 350 feet or
        approximately one city block). As required by Lorillard and the governing First Amendment case law,
        any proposed restrictions would be more narrowly tailored than § 897.30(b), as published in 1996. The
        agency is considering whether the restrictions under consideration in this advance notice of proposed
        rulemaking that would differentiate between large and small advertisements would appropriately tailor
        the rule. For example, we are considering tailoring the distance requirement by leaving the 1,000 foot
        restriction for the largest and most prominent advertisements (billboards) and narrowing the distance to
        350 feet (approximately one city block) for smaller advertisements that are not as prominent. Under this
        approach, the restrictions would limit advertising near schools only, rather than schools and playgrounds.


                                                        -5-
              Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 12 of 32


         As this demonstrates, Lorillard squarely controls this case. Since Lorillard held that a

regulation banning outdoor tobacco advertising within 1,000 feet of a school or playground violated

the First Amendment, it follows a fortiori that a law banning all outdoor tobacco advertising does too.

It is the “prerogative” of the Supreme Court, not this one, to either “reconsider[] or narrowly

distinguish[]” Lorillard’s clear holding. O’Brien, 542 F.3d at 926. For this reason alone, this Court

should declare that the Ordinance is unconstitutional.

         B.       Worcester’s Attempt To Distinguish Lorillard Fails At Every Level.

         Worcester essentially concedes that the Ordinance is indistinguishable from the Massachusetts

regulation invalidated in Lorillard. Worcester argues, however, that “the then-applicable federal

preemption provision” “limited [Massachusetts’s interest in Lorillard] to protecting minors,” Cigar

Wrapper Opp. at 24, and that the FSPTCA has now removed that federal statutory bar. Thus,

Worcester argues, stunningly, that “Congress has effectively reversed the Lorillard Tobacco

decision[’s]” First Amendment holding. Id. at 26. See also Defs.’ Opp. to Pls.’ Mot. for Prelim. Inj.

(“Opp.”) at 8-9 (“because of the repeal of the federal pre-emption contained in the Tobacco Control

Act, [Lorillard] is now entirely distinguishable from the case at bar”). This is both wrong and

irrelevant.

         First, it is wrong because the FSPTCA’s changes to the Labeling Act’s statutory preemption

provision are entirely irrelevant to Lorillard’s First Amendment holding, which struck down a

regulation that was not subject to the preemption provision at all. 5 As the Supreme Court made

crystal clear at the outset of its First Amendment discussion, because “the [Labeling Act’s] pre-


75 Fed. Reg. at 13,242.
         5
           The FSPTCA amended, but did not “repeal,” the preemption provision applicable to cigarette advertising. Prior
to the enactment of the FSPTCA, the preemption provision provided that “[n]o requirement or prohibition based on
smoking and health shall be imposed under State law with respect to the advertising or promotion of any cigarettes the
packages of which are labeled in conformity with” federal law. 15 U.S.C. § 1334(b). The FSPTCA left this provision
entirely intact, but added that state and local governments could “impos[e] specific bans or restrictions on the time, place,
and manner, but not content, of the advertising or promotion of any cigarettes.” 15 U.S.C. § 1334(c).


                                                         -6-
              Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 13 of 32


emption provision only applies to cigarettes, . . . we must evaluate the smokeless tobacco and cigar

petitioners’ First Amendment challenges to the State’s outdoor . . . advertising regulations.” 533 U.S.

at 553. Consequently, the preemption provision had no bearing at all on Lorillard’s First Amendment

analysis, and Massachusetts was entirely free to advance any interest it wanted to in defense of its

regulation—including an interest in reducing adult tobacco use. Indeed, Worcester’s assertion that the

FSPTCA “effectively reversed the Lorillard Tobacco decision,” Cigar Wrapper Opp. at 26, is

irreconcilable with the FSPTCA itself, which explicitly directs the FDA not to enact a regulation—

like the Ordinance—that is broader than the one struck down in Lorillard. See supra at I.A. The

FSPTCA cannot both expressly acknowledge Lorillard’s continued vitality and at the same time

effectively overrule it. 6

          Second, wholly apart from the FSPTCA, Worcester’s assertion that it may prohibit truthful,

non-misleading tobacco advertising in order to prevent adults from purchasing tobacco products is

irreconcilable with a long line of Supreme Court holdings, including Lorillard itself. Indeed, if, as

Lorillard held, a broad outdoor advertising ban cannot be justified by an interest in prohibiting illegal

youth tobacco use, it is impossible to understand how it could be justified by an interest in preventing

adults from buying a product that it is entirely lawful for them to purchase and use. That is precisely

why the Supreme Court has repeatedly held that the government may not “prevent[] the dissemination

of truthful commercial information in order to prevent members of the public from making bad

decisions with the information.” Thompson v. W. States Med. Ctr., 535 U.S. 357, 374 (2002).

          This is not a novel principle. To the contrary, the Supreme Court announced it thirty-five

years ago in Virginia Board of Pharmacy v. Virginia Citizens Consumer Council, Inc., 425 U.S. 748

(1976):


          6
           Worcester’s discussion of the scope of state police power, (Opp. at 11), is likewise irrelevant. The cases it cites
involve restrictions on conduct (i.e., requiring vaccinations, prohibiting smoking in certain enclosed spaces), not speech;
they are therefore not governed by the First Amendment.


                                                          -7-
           Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 14 of 32


       There is, of course, an alternative to this highly paternalistic approach. That alternative
       is to assume that this information is not in itself harmful, that people will perceive their
       own best interests if only they are well enough informed, and that the best means to
       that end is to open the channels of communication rather than to close them. . . . But
       the choice among these alternative approaches is not ours to make or the Virginia
       General Assembly’s. It is precisely this kind of choice, between the dangers of
       suppressing information, and the dangers of its misuse if it is freely available, that the
       First Amendment makes for us.

Id. at 770. And it reiterated this principle in Sorrell, its most recent commercial speech decision:

       [T]he State may not seek to remove a popular but disfavored product from the
       marketplace by prohibiting truthful, nonmisleading advertisements that contain
       impressive endorsements or catchy jingles. That the State finds expression too
       persuasive does not permit it to quiet the speech or burden its messengers.

131 S. Ct. at 2671. Indeed, on the basis of this principle, Lorillard itself held that “so long as the sale

and use of tobacco is lawful for adults, the tobacco industry has a protected interest in communicating

information about its products and adult customers have an interest in receiving that information.”

533 U.S. at 571; see also Sorrell, 131 S. Ct. at 2670 (“[T]he fear that speech might persuade provides

no lawful basis for quieting it.”); id. at 2670-71 (“[T]he ‘fear that people would make bad decisions if

given truthful information’ cannot justify content-based burdens on speech.”) (quoting W. States Med.

Ctr., 535 U.S. at 374); id. at 2671 (“‘The First Amendment directs us to be especially skeptical of

regulations that seek to keep people in the dark for what the government perceives to be their own

good.’”) (quoting 44 Liquormart, 517 U.S. at 503 (plurality opinion)). Worcester’s attempt to

technically distinguish these myriad Supreme Court cases, see (Opp. at 11-14), ignores the fact that

this basic First Amendment principle is the very bedrock of the Supreme Court’s commercial speech

jurisprudence.

       In short, Worcester’s attempt to avoid Lorillard’s clear holding fails at every level. The

FSPTCA, a congressional statute, of course did not overrule Lorillard’s constitutional holding. Thus,

nothing prevented Massachusetts from arguing that it could ban tobacco marketing in order to prevent

adults from purchasing lawful tobacco products—except for the First Amendment, which likewise

bars Worcester from enacting paternalistic laws that prohibit truthful, non-misleading speech about

                                                 -8-
            Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 15 of 32


lawful products in order to prevent adult consumers from making “bad” decisions. This Court should

therefore hold that the Ordinance is irreconcilable with the First Amendment as interpreted and

applied in Lorillard and numerous controlling Supreme Court decisions.

II.    THE ORDINANCE ALSO FAILS THE THIRD AND FOURTH PRONGS OF
       CENTRAL HUDSON.

       As the foregoing demonstrates, the Ordinance is irreconcilable with binding Supreme Court

precedent. This alone requires the Court to grant Plaintiffs’ motion for preliminary injunction and

motion for summary judgment, and to deny Defendants’ motion for summary judgment. But even

apart from this controlling case law, Worcester bears the “burden to justify its content-based law as

consistent with the First Amendment.” Sorrell, 131 S. Ct. at 2667. Here, even Worcester concedes

that Lorillard would foreclose the Ordinance if it were based solely on reducing youth tobacco use.

Thus, the only potentially relevant question is the effect of the Ordinance on reducing adult tobacco

use. Under the third and fourth prongs of Central Hudson Gas & Elec. Corp. v. Public Serv. Comm’n

of N.Y., 447 U.S. 557, 566 (1980), Worcester therefore must prove that the Ordinance’s speech ban (1)

will result in a significant reduction in such use, and (2) is narrowly tailored to that goal. Here,

Worcester has done neither. Instead, it relies almost entirely on evidence related to youth tobacco

use—evidence that is obviously irrelevant to its newfound interest in manipulating the lawful

purchasing decisions of adults.

       A.      Worcester Has Not Demonstrated That The Ordinance Will Cause A “Material”
               Or “Significant” Reduction In Adult Tobacco Use.

       Under Central Hudson’s third prong, Worcester bears the burden of proving that the

Ordinance “will in fact alleviate” adult tobacco use “to a material degree.” Edenfield, 507 U.S. at 771.

“‘This burden is not satisfied by mere speculation or conjecture; rather, a governmental body seeking

to sustain a restriction on commercial speech must demonstrate that the harms it recites are real and

that its restriction will in fact alleviate them to a material degree.’” Greater New Orleans Broad.

Ass’n v. United States, 527 U.S. 173, 188 (1999) (quoting Edenfield, 507 U.S. at 770-71). Thus,

                                                 -9-
             Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 16 of 32


Worcester must demonstrate that the Ordinance will “significantly serve [its] interest” in reducing

adult tobacco use. John Donnelly & Sons v. Campbell, 639 F.2d 6, 8 (1st Cir. 1980) (emphasis

added); see also, e.g., 44 Liquormart, 517 U.S. at 506 (the government must show “that its speech

prohibition will significantly reduce marketwide consumption”). 7 Worcester has not remotely carried

this burden.

         First, the only evidence that Worcester cites are findings that it claims were made by the FDA

and Congress in support of the federal marketing restrictions in the FSPTCA. (See Opp. at 16-17.)

These findings, however, have nothing to do with adult tobacco use; instead, they study only the link

between advertising and youth tobacco use. Indeed, every one of the FDA findings that Worcester

cites in its brief is related to “youth” use. 8 So too Congress’s findings in enacting the FSPTCA. But

one would not know this from reading the Worcester Ordinance. The City Council purports to

“incorporate Congress’s findings”—but in fact alters them to reference “adults.” For example,

Worcester Ordinance’s Finding #9 supposedly “incorporate[s]” FSPTCA finding #25:

“Comprehensive advertising restrictions will have a positive effect on the smoking rates of young

         7
           Worcester argues that “44 Liquormart did not articulate a new standard for the third prong of the Central
Hudson test” because no opinion “commanded a majority and none speak[s] for the Court.” (Opp. at 18.) Plaintiffs agree
that 44 Liquormart did not announce a “new standard.” Instead, it recognized, as the Supreme Court had previously held,
that the government is required to demonstrate that a speech restriction advances its interest “to a material degree,”
Edenfield, 507 U.S. at 771 (emphasis added). But Worcester is wrong to belittle 44 Liquormart as a plurality opinion. As
discussed below, the Justices uniformly agreed on the proper standard for evaluating a commercial speech restriction,
including that the government had the burden of producing evidence that the speech restriction would in fact materially
advance the government’s asserted interest. See infra at 12. Moreover, the Supreme Court, including in its most recent 6-
3 decision in Sorrell, repeatedly invokes the plurality opinion. See, e.g., 131 S. Ct. at 2669, 2671, 2672; see also W. States
Med. Ctr., 535 U.S.at 372 (citing 44 Liquormart); Wine & Spirits Retailers, Inc. v. Rhode Island, 481 F.3d 1, 6 (1st Cir.
2007) (citing 44 Liquormart). Lower courts likewise have generally regarded Justice Stevens’ position as “the narrowest
majority holding” in that case. U.S. West, Inc. v. FCC, 182 F.3d 1224, 1233 n.5 (10th Cir. 1999).
         8
          See Opp. at 16 (citing 61 Fed. Reg. at 44,494 (“Based on the foregoing, FDA finds that the international
experience provides empirical evidence that restrictions on tobacco advertising, when given appropriate scope and when
fully implemented, will reduce cigarette and smokeless tobacco use among children and adolescents under the age of 18.”
(emphasis added))); id. (citing 61 Fed. Reg. at 44,466 (“FDA tentatively asserted that a preponderance of the quantitative
and qualitative studies of cigarette advertising suggested: (1) A causal relationship between tobacco advertising and
tobacco use by young people, and (2) a positive effect of stringent advertising measures on smoking rates and on youth
tobacco use.” (emphases added))); id. at 17 (citing reports showing “advertising was an important factor in young people’s
tobacco use, and . . . restrictions on advertising must be part of any meaningful approach to reducing smoking and
smokeless tobacco use among young people.” (emphases added)).


                                                         -10-
           Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 17 of 32


people and adults.” (Opp. at 17 (emphasis added)). But the words “and adults” do not appear in

FSPTCA finding #25. See FSPTCA Finding # 25 (“Comprehensive advertising restrictions will have

a positive effect on the smoking rates of young people.”). Likewise, Worcester Order Finding #4,

which supposedly incorporates FSPTCA finding #6, provides: “Because past efforts to restrict

advertising and marketing of tobacco products have failed adequately to curb tobacco use by

adolescents and adults, comprehensive restrictions . . . are needed . . . .” (emphasis added). Again,

however, the words “and adults” are nowhere to be found in FSPTCA finding #6—they were added

by Worcester. See FSPTCA finding #6 (“Because past efforts to restrict advertising and marketing of

tobacco products have failed adequately to curb tobacco use by adolescents, comprehensive

restrictions . . . are needed.”). Worcester obviously cannot meet its evidentiary burden under the First

Amendment by manufacturing findings out of whole cloth. The FDA and Congressional findings

Worcester cites, therefore, provide no support at all for its assertion that the Ordinance will

significantly reduce adult tobacco use.

       Second, Worcester cannot fill this evidentiary void by resorting to its view of “common

sense.” (Opp. at 18.) Established law requires that it put forth evidence. See supra at 9. Worcester

says the Supreme Court’s decision in Posadas de Puerto Rico Associates v. Tourism Co. of Puerto

Rico, 478 U.S. 328 (1986), eliminates this evidentiary requirement. (Opp. at 15-16.) In 44

Liquormart, however, the rationale of Posadas was rejected not just by the controlling plurality

opinion, but by almost every member of the Court. Thus, the plurality, joined by Justices Stevens,

Kennedy, Ginsburg, and Thomas, squarely held “that Posadas erroneously performed the First

Amendment analysis.” 44 Liquormart, 517 U.S. at 509. Likewise, in her separate opinion, Justice

O’Connor, joined by Chief Justice Rehnquist and Justices Souter and Breyer, explained that while it

was “true that Posadas accepted as reasonable, without further inquiry, Puerto Rico’s assertions that

the regulations furthered the government’s interest,” “[s]ince Posadas, . . . this Court has examined



                                                -11-
                 Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 18 of 32


more searchingly the State’s professed goal, and the speech restriction put into place to further it,

before accepting a State’s claim that the speech restriction satisfies First Amendment scrutiny”; she

then concluded that “[t]he closer look that we have required since Posadas comports better with the

purpose of the analysis set out in Central Hudson.” Id. at 531-32 (O’Connor, J., concurring in the

judgment) (citing cases). Posadas and the analysis it supports, therefore, is simply no longer good

law. See Artichoke Joe’s Cal. Grand Casino v. Norton, 353 F.3d 712, 737 n.20 (9th Cir. 2003)

(“[T]he Court disavowed Posadas’ First Amendment holding . . . .”); Pearson v. Shalala, 164 F.3d

650, 658 (D.C. Cir. 1999) (“[T]he Supreme Court expressly disapproved of that aspect of Posadas

. . . .”).

             Worcester’s reliance on Capital Broadcasting Co. v. Mitchell, 333 F. Supp. 582 (D.D.C.

1971), affirmed sub. nom. Capital Broadcasting Co. v. Kleindienst, 405 U.S. 1000 (1972), (Opp. at

19-20), is equally misplaced. That case applied the First Amendment standard of Red Lion

Broadcasting Co. v. FCC, 395 U.S. 367 (1969), which establishes far less robust First Amendment

protections for broadcast media licensed by the Federal Communications Commission. See id. at 386

(“[D]ifferences in the characteristics of new media justify differences in the First Amendment

standards applied to them.”); Capital Broadcasting, 333 F. Supp. at 586 (citing Red Lion). The

Supreme Court may well revisit Red Lion in a case that it will hear later this term, see Fox Television

Stations, Inc.v. FCC, 613 F.3d 317 (2d Cir. 2010), cert. granted, 131 S. Ct. 3065 (2011) (No. 10-

1293) (granting review of FCC ban on “fleeting expletives”), as Red Lion has repeatedly been called

into question. 9 For present purposes, however, it is sufficient to note that the Red Lion standard is

entirely inapposite here, where the ban does not apply to broadcast advertising pursuant to FCC

             9
          See, e.g., FCC v. Fox Television Stations, Inc., 129 S. Ct. 1800, 1819-20 (2009) (Thomas, J., concurring) (noting
Red Lion’s “questionable viability”); Columbia Broad. Sys., Inc. v. Democratic Nat’l Comm., 412 U.S. 94, 154 (1973)
(Douglas, J., concurring in judgment) (“I did not participate in [Red Lion] and, with all respect, would not support it.”);
Telecomm. Research & Action Ctr. v. FCC, 801 F.2d 501, 508 (D.C. Cir. 1986) (Bork, J.) (“It is certainly true that
broadcast frequencies are scarce but it is unclear why that fact justifies content regulation of broadcasting in a way that
would be intolerable if applied to the editorial process of the print media.”).


                                                       -12-
              Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 19 of 32


licenses, but rather, to all outdoor advertising as well as all indoor advertisements that can be seen

through a window. See Reno v. Am. Civil Liberties Union, 521 U.S. 844, 868 (1997) (refusing to

extend Red Lion beyond broadcast media to the Internet). 10

         Finally, it is notable that Worcester’s Opposition does not rely on the assertions in the

accompanying Affidavit of Dr. B. Dale Magee, Worcester’s Commissioner of Public Health, (Docket

#23-2), about the alleged impact of advertising (or an advertising ban) on smoking behavior. Nor

could it. Dr. Magee’s reference to unidentified “medical literature” and assertion in the passive voice

that “it is felt that a comprehensive ban on advertising will be more effective than a limited one,” id. at

¶ 9, is precisely the type of “mere speculation or conjecture” that the case law holds insufficient to

satisfy the First Amendment. Further, Dr. Magee does not even purport to be an expert on the impact

of advertising on smoking behavior.

         In short, Worcester bears the burden of actually putting forth evidence sufficient to prove that

the Ordinance “will in fact alleviate” adult tobacco use “to a material degree,” Edenfield, 507 U.S. at

771. It has, however, put forward nothing. Accordingly, for this reason as well, the Ordinance

violates the First Amendment.

         B.       Worcester Has Not Demonstrated That The Ordinance Is Narrowly Tailored.

         Under Central Hudson’s fourth prong, Worcester must prove that the Ordinance is narrowly

tailored, such that there is a “reasonable fit between the means and ends of the regulatory scheme,”

Lorillard, 533 U.S. at 561—that is, between the broad ban on outdoor advertising and Worcester’s


         10
            See also, e.g., Denver Area Educ. Telecomms. Consortium, Inc. v. FCC, 518 U.S. 727, 741 (1996) (opinion of
Breyer, J., for four justices) (describing Red Lion as “employing highly flexible standard in response to the scarcity
problem unique to over-the-air broadcast”); Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 637 (1994) (refusing to extend
Red Lion beyond broadcast media to cable television); Consol. Edison Co. v. Pub. Serv. Comm’n, 447 U.S. 530, 542-43
(1980) (refusing to extend Red Lion beyond broadcast media to messages on public utility’s electric bills); Clifton v. FEC,
114 F.3d 1309, 1314 (1st Cir. 1997) ( “rationale has no conceivable application” beyond broadcast media to publisher of
voter guides); see also Yes for Life PAC v. Webster, 84 F. Supp. 2d 150, 153 n.6 (D. Me. 2000) (“I see nothing in [cases
including Red Lion], however, to suggest that any of [Congress and the FCC’s] authority carries over to state legislatures
and gives them enhanced authority to intrude upon First Amendment interests of broadcasters or advertisement
sponsors.”).


                                                        -13-
              Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 20 of 32


purported interest in reducing tobacco use, including an alleged interest in preventing adults from

making lawful purchases. Once again, however, Worcester fails to carry this burden.

                 1.    Worcester Did Not “Carefully Calculate” The Burdens And Benefits Of
                       The Speech Ban.

        As in Lorillard, here, “[t]he broad sweep of the [Ordinance] indicates that [Worcester] did not

‘carefully calculate the costs and benefits associated with the burden on speech imposed’ by the

[Ordinance].” Id. Indeed, Worcester did not carefully weigh its additional interest in reducing adult

tobacco use at all, since it relied entirely on congressional and FDA findings related to youth tobacco

use. See supra at 10. The Ordinance further suffers from virtually every one of the flaws that the

Court relied upon to conclude that the outdoor advertising ban struck down in Lorillard failed to

reflect the “careful calculation” required by the First Amendment:

    ● The Ordinance imposes “nearly a complete ban on the communication of truthful information
      about [tobacco products] to adult consumers.” Lorillard, 533 U.S. at 562.

    ● The Ordinance prevents retailers from “communicating to passersby on the street” by
      “propos[ing] an instant transaction in the way that onsite advertising does.” Id. at 565.

    ● The Ordinance’s “ban on any indoor advertising that is visible from the outside . . . presents
      problems in establishments like convenience stores, which have unique security concerns that
      counsel in favor of full visibility of the store from the outside.” Id.

    ● The Ordinance indiscriminately “restrict[s] advertisements of any size.” Id. at 562.

    ● The Ordinance imposes special burdens on retailers with “small advertising budgets” and “few
      avenues of communication,” because it cuts off one of the few outlets they have to
      communicate with adult customers. Id. at 564-65.

In short, as in Lorillard, “[t]he breadth and scope of the [Ordinance], and the process by which

[Worcester] adopted [it], do not demonstrate a careful calculation of the speech interests involved.”

Id. at 562.

        Worcester’s assertion that the Ordinance “does not restrict advertising inside of any retail

establishment,” (Opp. at 24), is both demonstrably wrong and irrelevant. Like the regulation in

Lorillard, the Ordinance prohibits “indoor advertising that is visible from the outside.” 533 U.S. at


                                                -14-
              Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 21 of 32


565. It likewise prohibits all outdoor point of sale advertising on the retailers’ premises. The

Ordinance therefore suffers from precisely the same flaws as the regulation struck down in Lorillard.

See supra at 14. The City Solicitor’s letter purporting to narrowly construe the Ordinance does not

solve these problems. The letter merely states that “the incidental visibility of tobacco products

through a window at a retail establishment” is not barred by the Ordinance. (Opp. at 24) (quoting

Letter of David M. Moore to Greg D’Agostino (May 24, 2011)) (emphasis added). This does nothing

to mitigate the impact of the ban on all of Plaintiffs’ other indoor “advertisements” that are visible

through a window. More importantly, as the Supreme Court recently held, “[t]he Government’s

assurance that it will apply [a law] far more restrictively than its language provides is pertinent only as

an implicit acknowledgment of the potential constitutional problems with a more natural reading.”

United States v. Stevens, 130 S. Ct. 1577, 1591 (2010).

         Worcester’s observation that the Ordinance does not prohibit direct mail, e-mail, and magazine

advertising, (Opp. at 23), is also irrelevant. The same, of course, was equally true in Lorillard. See

533 U.S. at 561-62. But the Supreme Court “ha[s] consistently rejected the suggestion that a

government may justify a content-based prohibition [on speech] by showing that speakers have

alternative means of expression.” Consolidated Edison Co. v. Pub. Serv. Comm’n, 447 U.S. 530, 541

n.10 (1980); see also, e.g., City of Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 430 (1993) (a

speech restriction that “is neither content neutral nor . . . ‘narrowly tailored’ . . . cannot be justified”

“regardless of whether or not it leaves open ample alternative channels of communication”). 11

         Worcester’s assertion that the Ordinance merely prohibits what Plaintiff-manufacturers have

already voluntarily agreed not to do is similarly erroneous. (Opp. at 25.) As Worcester concedes, the


         11
            This rule is particularly apposite where, as here, the supposed alternatives are less effective. See Lorillard, 533
U.S. at 565 (under outdoor-adverting ban, “retailer[s] in Massachusetts may have no means of communicating to passersby
on the street”); see also Linmark Assocs. v. Twp. of Willingboro, 431 U.S. 85, 93 (1977) (alleged alternatives, “in practice”
and “realistically,” are “far from satisfactory” when they “may be less effective media,” “involve more cost and less
autonomy,” and are “less likely to reach persons not deliberately seeking sales information”).


                                                         -15-
             Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 22 of 32


policies to which Worcester refers were voluntarily adopted; they are not licenses to impose binding

legal restrictions in violation of the First Amendment. More importantly, however, the Ordinance

goes far beyond these voluntary restrictions. For example, the City points out that Plaintiff Lorillard

Tobacco Company, “as a signatory of the Master Settlement Agreement, agreed to ‘end all outdoor

tobacco advertising.’” (Opp. at 25 (citing Lorillard’s website).) But as Lorillard’s website makes

clear, the MSA’s ban on “outdoor advertising” is limited to “billboards, signs and placards in arenas,

stadiums, shopping malls, and video game arcades.” http://www.lorillard.com/about-

us/legislation/summary-of-maiser-settlement-agreement/#more-30. The MSA thus permits

“advertising outside retail establishments” with signs less than “14 square feet,” id., as well as indoor

advertising even if visible from outside. Thus, even if certain Plaintiffs’ voluntary policies were

relevant to Worcester’s argument—they are not—they provide no support for the Ordinance’s broader

and more burdensome ban on all outdoor advertising and all indoor advertising that can be seen

through a window.

        In that regard, each of the Plaintiff-manufacturers has attested that it engages in advertising

that is prohibited by the Ordinance. See (Karrow Decl., Docket #19-2; Gifford Decl., Docket #19-4;

Sparrow Decl., Docket #19-5). Retail stores, including members of Plaintiff National Association of

Tobacco Outlets, Inc., likewise routinely use outdoor advertisements to communicate information

about tobacco products to adult consumers. See (Kerstein Decl., Docket #19-3). Indeed, the

Worcester City Council expressly relied upon the pervasiveness of such advertising when it adopted

the ban in the first place, as evidenced by the photographs that the City Council attached to the

agenda/minutes for its April 5, 2011 meeting. See Appendix A (photographs submitted to Worcester

City Council). 12


        12
           The City’s assertion that Zauderer v. Office of Disciplinary Counsel, 471 U.S. 626 (1985), “was not decided on
the ‘narrowly tailored’ prong of Central Hudson,” (Opp. at 26), merits little response. The Supreme Court in Zauderer
could not have been clearer as to the relevant legal standard: “Our recent decisions involving commercial speech have
been grounded in the faith that the free flow of commercial information is valuable enough to justify imposing on would-

                                                       -16-
            Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 23 of 32


         Accordingly, Worcester has failed to carry its burden of proving that it “‘carefully calculate[d]

the costs and benefits associated with the burden on speech imposed’ by the [Ordinance].” Lorillard,

533 U.S. at 561.

                  2.       Worcester Has Not Demonstrated That Obvious Less Restrictive
                           Alternatives Would Be Less Effective Than The Ordinance.

         In addition to showing that its advertising restriction is not unduly broad, Worcester must also

show that its speech restrictions would be more effective at reducing adult tobacco use than

“numerous and obvious less-burdensome alternatives to the restriction on commercial speech.”

Discovery Network, 507 U.S. at 417 n.13. This requires that, as the Supreme Court held in W. States

Med. Center, “if the Government could achieve its interests in a manner that does not restrict speech,

or that restricts less speech, the Government must do so.” 535 U.S. at 371. Here, Worcester simply

points to the list of initiatives it claims to have undertaken. See (Opp. at 27-29). That, however, is

irrelevant. Instead, Worcester must show that its speech ban is more effective than the many obvious

less-burdensome alternatives available to it. It has not even attempted to do this.

         The Supreme Court has repeatedly held that under the narrow tailoring prong of Central

Hudson, the government must show that the speech restrictions it adopted would be more effective in

advancing its interests than obvious non-speech alternatives it rejected. See, e.g., W. States Med. Ctr.,

535 U.S. at 372 (invalidating law in light of “[s]everal non-speech-related means of drawing [the]

line”); 44 Liquormart, 517 U.S. at 507 (plurality op.) (invalidating ban on advertising liquor prices

because “alternative forms of regulation that would not involve any restriction on speech,” such as

“higher prices . . . by direct regulation or by increased taxation,” limits on “[p]er capita purchases,” or

“educational campaigns”); id. at 530 (O’Connor, J., concurring in the judgment) (pointing to the

be regulators the costs of distinguishing the truthful from the false, the helpful from the misleading, and the harmless from
the harmful.” 471 U.S. at 646. As this language makes clear, the First Amendment takes a jaundiced view of broad
prophylactic speech bans like the Ordinance, because such overly broad bans will rarely satisfy the requirement that
government “narrowly tailor” restrictions on speech to the government’s asserted interests. See id. at 648 (rejecting “the
State’s argument . . . that its purposes can only be served through a prophylactic rule”).


                                                         -17-
           Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 24 of 32


“ready availability of such [non-speech] alternatives”); Rubin v. Coors Brewing Co., 514 U.S. 476,

490-91 (1995) (same); Bellsouth Telecomms., Inc. v. Farris, 542 F.3d 499, 508-09 (6th Cir. 2008)

(invalidating speech restriction where the state ignored a “full arsenal of options short of restricting

speech”); Pitt News v. Pappert, 379 F.3d 96, 108 (3d Cir. 2004) (Alito, J.) (invalidating ban on liquor

advertising in college newspapers because there were far “more direct . . . way[s] to combat underage

and abusive drinking by college students”).

       Here, Worcester spends the final pages of its brief listing a variety of programs that it alleges it

implemented prior to implementing the speech ban. It notes, for example, that it prohibits the free

distribution of tobacco products on public streets, bans the sale of tobacco products to minors, and

posed a “non-binding question” to its citizenry on whether smoking should be banned in public

buildings. (Opp. at 28-29.) As explained below, Worcester greatly exaggerates its efforts here. See

infra at 20. More importantly, however, Worcester’s brief and supporting papers say nothing about

the efficacy of the Ordinance’s speech ban relative to the numerous and obvious non-speech

alternatives available to it. Worcester thus does not explain why it could not reduce tobacco use by at

least as much as the speech ban by, for example, (1) increasing resources for smoking cessation

programs, (2) public advertising campaigns about the dangers of smoking, (3) adopting programs that

address the root causes of smoking, or (4) increasing enforcement of the age of purchase laws. See

(Reynolds Decl., Docket #29, at ¶ 61).

       In sum, it is irrelevant that Worcester purports to have tried other things. Its burden under the

First Amendment is to prove that the Ordinance’s speech ban is more effective than the obvious non-

speech options it rejected. And Worcester has not even attempted to carry this burden. The

Ordinance thus fails First Amendment scrutiny for this reason as well.




                                                -18-
             Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 25 of 32


III.      PLAINTIFFS’ EXPERT DECLARATIONS FURTHER DEMONSTRATE WHY
          PLAINTIFFS ARE ENTITLED TO A PRELIMINARY INJUNCTION AND
          SUMMARY JUDGMENT AND WHY WORCESTER IS NOT.

          Points I and II, above, turn solely upon questions of law. These arguments establish that (1)

this case is squarely controlled by Lorillard and other binding Supreme Court precedent, and in any

event, (2) Worcester has not carried its burden of proving that the Ordinance (a) will materially reduce

adult tobacco use, and (b) is narrowly tailored to that goal. For these reasons alone, Plaintiffs’

Motions for Preliminary Injunction and Summary Judgment should be granted, and Defendants’

Motion for Summary Judgment should be denied.

          In addition, Plaintiffs’ expert declarations, provided by Cecil Reynolds and Ronald Faber,

further demonstrate why Plaintiffs are entitled to a preliminary injunction and summary judgment, and

defendants are not. These expert affidavits establish:

       ● The Ordinance will not significantly reduce youth tobacco use. See (Reynolds Decl. at ¶¶ 12,
         15, 53-60, 69-78); (Faber Decl., Docket #30, at ¶¶ 6, 13-22, 24-25, 33).

       ● The Ordinance will not significantly reduce adult tobacco use. See (Reynolds Decl. at ¶¶ 12,
         15, 58-60, 69-78); (Faber Decl. at ¶¶ 6, 22-26, 33).

       ● There are numerous, non-speech restrictive ways that would be more effective at reducing
         youth tobacco use than the Ordinance. See (Reynolds Decl. at ¶¶ 13-15, 61-63, 65-78).

       ● There are numerous, non-speech restrictive ways that would be more effective at reducing
         adult tobacco use than the Ordinance. See (Reynolds Decl. at ¶¶ 14-15, 64, 67-78).

Worcester, in contrast, has put forth no evidence, expert or otherwise, refuting these basic points.

Plaintiffs’ expert declarations therefore further underscore how Worcester has failed to carry its

burden of proving that the Ordinance (1) would result in a material reduction in either adult or youth

tobacco use, and (2) is narrowly tailored towards those ends.

          For example, Worcester claims that its speech ban will reduce adult tobacco use. See (Opp. at

7). But as Plaintiffs’ experts explain, there is no empirical evidence to support such an assertion. See

(Reynolds Decl. at ¶¶ 12, 15, 58-60, 69-78); (Faber Decl. at ¶¶ 6, 22-26, 33). Moreover, because the



                                                 -19-
          Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 26 of 32


Ordinance’s advertising ban does not address the root causes of why people smoke—e.g., influence by

family and friends—it is unlikely to have any impact on smoking rates at all. See (Reynolds Decl. at

¶¶ 37-52); (Faber Decl. at ¶¶ 12-21).

       Likewise, Worcester claims that it has tried numerous non-speech programs but they have

failed to reduce smoking rates. See (Opp. 27-29). But Worcester has not adopted or funded virtually

any of its own programs. Instead, it points to programs run by Massachusetts. See (Reynolds Decl. at

¶¶ 72-77). Massachusetts, however, woefully underfunds such programs. Indeed, while the Centers

for Disease Control and Prevention recommends that Massachusetts devote $90 million of its $821

million of tobacco revenue to tobacco control programs, Massachusetts spends just 0.5% of that

tobacco revenue ($4.5 million) on tobacco control, placing it 37th amongst the Nation’s 50 states. See

Campaign for Tobacco-Free Kids, A Broken Promise to Our Children: The 1998 State Tobacco

Settlement Twelve Years Later (Nov. 17, 2010) at 43-44; (Reynolds Decl. at ¶ 67).

       Plaintiffs’ expert evidence therefore provides a further basis upon which their motions should

be granted. At a minimum, it forecloses summary judgment for Worcester.

                                             CONCLUSION

       This Court should grant Plaintiffs’ Motion for Preliminary Injunction and Motion for

Summary Judgment, and deny Defendants’ Motion for Summary Judgment.



Dated: October 14, 2011

                                        Respectfully submitted,

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                                                 -20-
Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 27 of 32


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                             -21-
Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 28 of 32


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                             -22-
        Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 29 of 32



                                CERTIFICATE OF SERVICE

        I hereby certify that, on this 14th day of October 2011, the within Reply Memorandum
was served upon all counsel of record through this Court’s electronic filing system as identified
in the Notice of Electronic filing, and paper copies will be sent to those indicated as
nonregistered participants.

                                                            /s/ Traci L. Lovitt
                                                            Traci L. Lovitt
        Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 30 of 32




                                           Appendix A

        The following pages, including illustrations of advertisements visible from the street, are
attached to the agenda/minutes for the Worcester City Council’s April 5, 2011 meeting. See
http://www.worcesterma.gov/agendas-minutes/city-council/2011/20110405.htm (last accessed
October 6, 2011):
Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 31 of 32
Case 4:11-cv-40110-DPW Document 33 Filed 10/14/11 Page 32 of 32
